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Token Structure and CEO
Update


                  Community Members,

As                                        the             Token Crowdsale
looms, the            team is working around the clock to ensure that all
questions and confusions are addressed clearly.

We recognize the confusion with regard to the limited private presale
and the bonus tokens that accredited investors, advisors and strategic
long term partners have received. The limited private presale was for
accredited investors.

In this post we are providing the exact number of tokens allocated and
the precise overall token structure. All of the staG allocation tokens
will be earned over 4 years with a 1 year lock. This has been our way
of demonstrating to all our supporters and to the entire crypto
community that each of us is in this for the long term.
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Company    Inventory and
   Case 1:20-cr-00008-MKB   the 1 Billion
                          Document         Incentivization
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buckets being included in the presale tokens.

Private presale bonuses were given to our earliest supporters of the
project. The presale bonus given to the early investors is on average
53%. All of the limited private presale bonus tokens have a 90 day
lock.

Our early supporters took a chance by committing to join us as
advisors and supporters before we had a whitepaper or a launch date.
The          team wants to ensure a wide distribution of tokens through
both the presale and the crowdsale. As our community has
continued to grow (e.g. over 270,000 Monthly Active
         , 40,000 on the                                   , 2,600
                         , 1,800                                   ), we realize
this is more important now than ever. The community has spoken
with your numbers and your active involvement. And to this we
are grateful.


Our Advisors:
Most of our advisors are equity holders in the company. They have
been working closely with the team daily to ensure that they actively
support us as we build a great product in                          . We are
extremely fortunate to have the support of top industry leaders in
blockchain, gaming, technology sectors, and advertising. Each
advisor of the team is a successful C-Level type executives, or a
founder of a multi-million (and billion) dollar company. Their
continued   engagementDocument
   Case 1:20-cr-00008-MKB with our teamFiled
                                105-12    each   weekPage
                                             02/13/23 will4 ofhelp us grow
                                                               5 PageID #: 665

our existing user base of 270,000 monthly active users into the global
company we strive to be and help us make our impact on how people
all across the world are able to earn.

Additionally, we have signed contracts with some of the largest
blockchain partners in the world. We are extremely excited and
anxious to announce these great partnerships. Working alongside
these great partners will help us expand to facilitate the mass
adoption of                    as the
platform focused                                   in the world.


Community Appreciation Sale:
If you have not signed up to participate in the Early Access
Registration for the Community Appreciation Sale Period, please Xll
out the form in the link below. This is to ensure that our earliest
community supporters are given the exclusive privilege of this early
access period for both registration and token purchases. This was open
only

Community Appreciation Early Access Signup Link

Those who Xll out the form will have Xrst access to the KYC process
beginning at                                              and will have the
ability to participate before the general public. The Xrst 945,000,000
                  sold will be eligible for an additional 15% bonus.
There are no locks on this allocation of tokens.
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